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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

TRIUMPHANT GOLD LIMITED,                            §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §       CIVIL ACTION NO. 4:18-CV-04770
                                                    §
DARREN MATLOFF,                                     §
                                                    §
        Defendant.                                  §


               DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS

        Pursuant to this Court’s May 7, 2019 Order (Docket No. 16), Defendant, Darren Matloff

(“Matloff”), files this Certificate of Interested Persons, identifying the following persons,

associations of persons, firms, partnerships, corporations, affiliates, parent corporations, or other

entities that are financially interested in the outcome of this litigation:

        -   Rooftop Group USA, Inc.

        -   Gandiva Investments Ltd.

        -   Asian Express Holdings Ltd.

        -   Rooftop Group International Pte. Ltd.
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                                           Respectfully submitted,

                                           HICKS THOMAS LLP

                                           /s/ Allen H. Rustay
                                           Allen H. Rustay
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                                           S.D. Tex. No. 22404
                                           J. Stephen Barrick
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                                           ATTORNEYS FOR DEFENDANT
                                           DARREN MATLOFF



                               CERTIFICATE OF SERVICE

       Service of this document on all counsel of record was accomplished automatically
through the Court’s Notice of Electronic Filing on May 29, 2019.


                                           /s/ Allen H. Rustay
                                               Allen H. Rustay




CERTIFICATE OF INTERESTED PERSONS                                                         Page 2
